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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
MARIA ALEJANDRA CELIMEN SAVINO             )
and JULIO CESAR MEDEIROS NEVES,            )
                                           )
Petitioners-Plaintiffs,                   )
                                          )   20-cv-10617 WGY
       v.                                 )
                                          )
THOMAS HODGSON, et al.,                    )
                                          )
       Respondents-Defendants.            )
__________________________________________)


              DEFENDANTS’ NOTICE OF TRANSFER OUT OF BRISTOL

       Respondents-Defendants hereby provide the Court and opposing counsel with notice that

at the request of Bristol County House of Corrections ISSAC DOE and WOODLEY DODIEU

will be transferred to the Donald W. Wyatt Detention Facility in Central Falls, Rhode Island no

sooner than 1:30 p.m. on Monday, May 11, 2020. With that transfer, the number of immigration

detainees remaining at Bristol County House of Corrections is 80.

                                                    Respectfully submitted,

                                                    ANDREW E. LELLING,
                                                    United States Attorney

                                              By:   /s/ Thomas E. Kanwit
                                                    Thomas E. Kanwit
                                                    Michael Sady
                                                    Assistant U.S. Attorneys
                                                    U.S. Attorney’s Office
                                                    John J. Moakley U.S. Courthouse
                                                    1 Courthouse Way, Suite 9200
                                                    Boston, MA 02210
                                                    (617) 748-3100
                                                    thomas.kanwit@usdoj.gov
       May 7, 2020                                  michael.sady@usdoj.gov
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                             /s/ Thomas E. Kanwit
Dated: May 7, 2020                                           Thomas E. Kanwit
